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 3   Fresno, California 93704
     Telephone: (559) 431-9710
 4   Facsimile: (559) 431-4108
 5
     Attorney for Defendant, DANIEL BOOBAR
 6
 7
 8                           IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )               CASE NO. CR-F-02-5301 OWW
                                         )
12               Plaintiff,              )               DEFENDANT’S REQUEST FOR LEAVE
                                         )               TO FILE FURTHER PRETRIAL MOTIONS
13   vs.                                 )
                                         )               HEARING DATE: August 15, 2005
14   DANIEL BOOBAR,                      )               HEARING TIME: 1:30 p.m.
                                         )               JUDGE: Honorable Oliver W. Wanger
15               Defendants.             )
     ____________________________________)
16
17
18             Defendant, DANIEL BOOBAR, by and through his legal counsel, ERIC K.
19   FOGDERUDE, respectfully moves this Honorable Court for an Order granting him leave
20   to file additional post-conviction motions, if necessary. This request is made in
21   anticipation of identifying issues arising from the discovery which will be produced in
22   response to Defendant BOOBAR’s Motion For Discovery Related To Sentencing Issues
23   and Related To Filing of a Motion For New Trial and/or Motion For Dismissal.
24             This motion is based upon the court file and any other matter which may be
25   submitted by or at oral argument.
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27   ///
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     U.S. vs. Boob ar, et al.                                 Defe nda nt’s R equest for Leave to File
     C ase N o. C R-F - 0 2-5 30 1 O W W                      Further Pretrial M otions
        Case 1:02-cr-05301-DAD Document 435 Filed 07/11/05 Page 2 of 2


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     DATED: July 5, 2005                    FLETCHER & FOGDERUDE, INC.
 3
 4
 5
                                            /s/
 6                                          _________________________________________
                                            ERIC K. FOGDERUDE
 7                                          Attorney for Defendant,
                                            DANIEL BOOBAR
 8
 9
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11
                                            ORDER
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13             IT IS SO ORDERED.
14   Only as to motions the Court presently has jurisdiction to hear. OWW
15
                                            /s/ OLIVER W. WANGER
16   DATED: July _8__, 2005                 ________________________________________
                                            HONORABLE OLIVER W. WANGER
17                                          United States District Court Judge,
                                            Eastern District of California
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     U.S. vs. Boob ar, et al.                        Defe nda nt’s R equest for Leave to File
     C ase N o. C R-F - 0 2-5 30 1 O W W        2    Further Pretrial M otions
